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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS

                                        )
UNITED STATES OF AMERICA, et al.,       )
ex rel. JESSICA SPISSINGER and          )
MATTHEW PECULIS,                        )
                                        )
                 Plaintiffs,            )
           v.                           )     No. 19-cv-11137-ADB
                                        )
NOVA PSYCHIATRIC SERVICES, P.C.;        )     UNDER SEAL
MARON DGA, P.C., D/B/A DANA GROUP       )
ASSOCIATES; and PATRIOT BEHAVIORAL      )
HEALTH, INC., F/K/A PATRIOT             )
ELDERCARE, INC.,                        )
                                        )
                 Defendants.            )
                                        )

                                    ORDER
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       ORDERED that a copy of this Order shall be served upon the United States and

Massachusetts, and that the United States and Massachusetts may share the Order with the

relators and counsel for the relators.


Dated: 8/12/2024                             __________________________________
                                             ALLISON D. BURROUGHS
                                             UNITED STATES DISTRICT JUDGE




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